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12
13                                 UNITED STATES DISTRICT COURT
14                                CENTRAL DISTRICT OF CALIFORNIA
15     CARL CURTIS, an individual;                  )    Case No.: 2:15-cv-02480
                                                    )
16     ARTHUR WILLIAMS, an individual,              )
                                                    )
17                  Plaintiffs,                     )
                                                    )    NOTICE OF ADDITIONAL
18                                                  )    AUTHORITY RE: PLAINTIFFS’
             v.                                     )
19                                                  )    OPPOSITION TO DEFENDANT’S
                                                    )    MOTION TO DISMISS
20     IRWIN INDUSTRIES, INC., a                    )    PLAINTIFFS’ FIRST AMENDED
       California corporation; and DOES 1           )
21                                                  )    COMPLAINT
       through 100, inclusive,
                                                    )
22                                                  )
                    Defendants.                     )
23                                                  )
                                                    )
24                                                  )
                                                    )
25                                                  )
                                                    )    [Complaint filed: February 17, 2015]
26                                                  )
                                                    )
27
28
                                                    1
                                      NOTICE OF ADDITIONAL AUTHORITY
     Case 2:15-cv-02480-ODW-E Document 26 Filed 09/21/15 Page 2 of 2 Page ID #:462



 1
             Plaintiffs Carl Curtis and Arthur Williams, by and through counsel, respectfully

 2     files this Notice of Additional Authority in support of their Opposition to Defendant’s
 3
       Motion to Dismiss Plaintiffs’ First Amended Complaint.
 4
 5           On June 18, 2015, the United States District Court for the Eastern District of

 6     California issued a decision regarding the applicability of the California Labor Code in
 7
       federal enclaves in the case of Korndobler v. DNC Parks & Resorts at Sequoia,
 8
 9     No. 1:15-cv-00459 LJO SKO, 2015 WL 3797625 (E.D. Cal. June 18, 2015). A copy of

10     the court’s order is appended to this notice as Exhibit “A”.
11
             The Korndobler court held in part, that employees working on a federal enclave
12
13     (the Sequoia National Park) could state claims for minimum wages under the California

14     Labor Code because the California Labor Code's minimum wage provisions did not
15
       conflict with the Fair Labor Standards Act. Id. at *6.
16
17
       Dated: September 21, 2015                         STRAUSS & PALAY, APC
18
                                            By:        /s/ Michael A. Strauss
19                                                Michael A. Strauss, Esq.
20                                                Andrew C. Ellison, Esq.
                                                  Attorneys for Plaintiffs and the Putative Class
21
22
23     Dated: September 21, 2015                         STRAUSS LAW GROUP, APC

24                                          By:        /s/ Aris E. Karakalos
                                                  Anthony R. Strauss, Esq.
25
                                                  Aris E. Karakalos, Esq.
26                                                Attorneys for Plaintiffs and the Putative Class
27
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                                                     2
                                    NOTICE OF ADDITIONAL AUTHORITY
